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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                                                                       SEALED
UNITED STATES OF AMERICA                    :      Criminal Case No. 20cr103 (RDM)
                                            :
               v.                           :      VIOLATION:
                                            :
GEORGE NADER,                               :      18 U.S.C. § 371 (Conspiracy to Make
                                            :      Conduit Contributions, Cause False
               Defendant.                   :      Statements, and Cause False Entries
                                            :      in Records)
                                            :
                                            :
                                            :
                                            :
                                            :

                                 STATEMENT OF OFFENSE

       The United States of America (the “Government”), through its undersigned attorneys,

respectfully submits the following Statement of Offense in the above-captioned case.

       The following proffer of the Government’s evidence is intended only to provide the Court

with enough evidence to satisfy the mandate of Rule 11(b)(3) of the Federal Rules of Criminal

Procedure. This proffer is not intended to be a disclosure of all the evidence available to the

Government.

       Had this matter gone to trial, the Government’s evidence would have shown, beyond a

reasonable doubt, the following facts.

                                          BACKGROUND

       1.      Defendant George NADER was the owner of a business entity in Foreign Country

A (“Company B”), and an advisor to certain foreign governments in the Middle East, including

Foreign Country A.
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       2.      Defendant Ahmad “Andy” KHAWAJA was a resident of Los Angeles, California,

and the Chief Executive Officer of an online payment processing company headquartered in West

Hollywood, California (“Company A”).

       3.      Defendant Rudy DEKERMENJIAN was a resident of Glendale, California, an

attorney in the Los Angeles-area, and an attorney for Company A.

       4.      Candidate 1 was a candidate for the Office of the President of the United States in

the 2016 election. In addition to his/her official campaign committee, Candidate 1 had two joint

fundraising committees (“Political Committee 1” and “Political Committee 2”) supporting

his/her candidacy in 2016. Both committees were registered with the Federal Election

Commission (“FEC”) and subject to specified contribution limits, limiting the allowable

contributions by individuals in the 2016 election cycle. Individual 1 was Candidate 1’s spouse.

       5.      Candidate 2 was a candidate for the Office of the President of the United States in

the 2016 election.

       6.      Political Committee 3 was a political committee formed to raise money for a

national political party’s national convention in 2016. It was registered with the FEC.

       7.      Political Committee 4 was a super-political action committee or “super PAC”

registered with the FEC.

                                      THE CONSPIRACY

       8.      From in or about March 2016 through in or about January 2017, in the District of

Columbia and elsewhere, NADER conspired with others, including KHAWAJA, to commit

offenses against the United States by willfully making contributions to political committees in the

names of others, by circumventing the limits prescribed by law, and by causing the political

committees to unwittingly submit material, false statements and reports to the FEC.
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                                PURPOSES OF THE CONSPIRACY

       9.       It was a purpose of the conspiracy to facilitate unlawful campaign contributions

from NADER, through KHAWAJA, to political committees, including Political Committee 1,

Political Committee 2, Political Committee 3, and Political Committee 4, in order to gain access

to and influence with Candidate 1 and others during and following the 2016 U.S. Presidential

election.

       10.      It was a purpose of the conspiracy to conceal these unlawful campaign

contributions from the FEC and the public by falsely stating that the contributions were made by

KHAWAJA and Company A when in reality they were funded by NADER. In so doing, NADER

and KHAWAJA caused Political Committee 1, Political Committee 2, Political Committee 3, and

Political Committee 4 to unwittingly file false campaign finance reports.

       11.      It was a purpose of the conspiracy to conceal the co-conspirators’ unlawful activity.

                                    MANNER AND MEANS

       12.      The manner and means of the conspiracy included, but were not limited to, the

following:

             a. The conspirators caused more than $3.5 million in contributions to Political

                Committee 1, Political Committee 2, Political Committee 3, and Political

                Committee 4, all funded with monies funneled by NADER to KHAWAJA for

                contribution;

             b. The conspirators made the millions of dollars in contributions to access—and, at

                times, to host—political events in an effort to gain influence with high-level

                political figures, including Candidate 1;
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              c. The conspirators concealed their scheme by surreptitiously communicating about

                 the funneling of monies from NADER to KHAWAJA, as well as their attendance

                 at and hosting of political events, through the use of an encrypted messaging system

                 and coded language;

              d. The conspirators used a false licensing agreement and invoice to disguise

                 approximately $4.9 million in payments from NADER to KHAWAJA as a

                 legitimate commercial transaction; and

              e. The conspirators caused Political Committee 1, Political Committee 2, Political

                 Committee 3, and Political Committee 4 to submit reports to the FEC unwittingly

                 stating falsely that the contributions were made by KHAWAJA and Company A.

                                            OVERT ACTS

        13.      In furtherance of the conspiracy, and to accomplish its purpose, KHAWAJA,

NADER, and others committed, and caused to be committed, in the District of Columbia and

elsewhere, the following overt acts:

          Initial Communications About NADER Sending Money for Contribution

        14.      On or about April 16, 2016, KHAWAJA, DEKERMENJIAN, and NADER

attended an event in support of Candidate 1. KHAWAJA brought NADER as his guest to the

event. Following the event, on or about April 17, NADER reported to an official from Foreign

Country A’s government via WhatsApp message that he had a “Wonderful meeting with the Big

Lady . . . Can’t wait to tell you all about it.”

        15.      On or about May 6, NADER attended an event at KHAWAJA’s home with an

official from Candidate 1’s campaign and another high-profile elected official. On or about May

7, NADER reported to an official from Foreign Country A’s government via WhatsApp message
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that he, “Had a magnificent sessions with Big Lady’s key people. . . . You will be most amazed by

my progress on that side!”

       16.      On or about May 15, KHAWAJA sent NADER a WhatsApp message about

arranging a private event with Candidate 1, stating: “The birthday party has been set up. 3 party

have been arranged for my sister and it’s going to be huge for her. She is very excited and happy.

All arranged buddy :) as you will see I’m a man of my word.” In these messages, “sister” is a

reference to Candidate 1.

       17.      On or about May 22, NADER sent KHAWAJA a WhatsApp message about money

he was planning to send to KHAWAJA for contribution in support of Candidate 1, stating: “I am

following up with my people on making sure the goodies arrive later this week in time for the

Party! That is for sure and I shall definitely be with you early next month in preparation and

celebration !” On or about May 31, NADER wrote, “Package was authorized and sent! Expected

sometimes this week ! Are we still on for first party on June 6?” KHAWAJA responded, “Yes we

are on for the 6th.”

       18.      In early June 2016, KHAWAJA and NADER continued to communicate via

WhatsApp about the status of the money NADER promised to send. On or about June 2,

KHAWAJA wrote, “Hi George the package still did not arrive.” NADER responded, “Not to worry

my Dear. Consider it done.” On or about June 3, KHAWAJA wrote, “George my people tell me

the delivery still did not arrive .. Was suppose to arrive yesterday..” NADER responded: “I know!

I repeat don’t worry about it! It is done! Just had to come on certain truck and delivery that is taken

couple extra days for delicacy and since it is very fragile! So consider it done and it will be there

in next couple of days or so! It has to be handled very very carefully! I explain when I see you in

person soon!”
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       19.     On or about June 2, NADER reported to an official from Foreign Country A’s

government via WhatsApp message that he was “leaving very early morning to catch up with big

Lady over the weekend. . . . Can I come over for 10 minutes . . . to get your blessings and instruction

before I leave please?”

       20.     On or about June 7, KHAWAJA wrote a check for $250,000 to Political Committee

2, falsely representing that it was a contribution from him and his wife, when it was, in fact, made

with the expectation that it would be reimbursed in full by monies to be funneled to him by

NADER. This caused Political Committee 2 to unwittingly file a false report with the FEC stating

that the contribution was from KHAWAJA and his wife, when it was not.

       21.     On or about June 7, NADER reported to an official from Foreign Country A’s

government via WhatsApp message that he, “Had a terrific meeting with my Big Sister H You

will be most delighted!”

       22.     On or about June 10, KHAWAJA again informed NADER via WhatsApp message

that the “package” had not arrived.

      KHAWAJA Seeks Funds for Private Event, and the Conspirators Create a Fake
                Commercial Transaction to Disguise the Transfer

       23.     KHAWAJA arranged to host a private fundraiser at his home on June 26, for

Candidate 1 featuring Individual 1. In order to host the event, KHAWAJA was required to

contribute or raise $1 million for Political Committee 1 and Political Committee 2.

       24.     On or about June 11, KHAWAJA told NADER in a WhatsApp message about the

June 26 event, and stated that there would be an event on June 28 with Candidate 1.

       25.     On or about June 13, KHAWAJA complained in a WhatsApp message to NADER,

“no package arrived today either.” NADER responded, “I told them about the upcoming deadline

and events and they assure me that it will be over there in coming days! . . . . It will be over there
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in time for the 26th event! That is all!” KHAWAJA responded, “Just make sure you guys don’t

look bad buddy .. I did not part and more. It’s all up in your hands now.” NADER responded:

“Good! I am sure you can take care of it till the package arrive! No way I can press them anymore!

You have to understand that will backfire if I push anymore! It will be there! I have seeing the

approval of the first package! I am not worry about it at all I hope you deliver as promised!”

       26.     On or about June 14, KHAWAJA and NADER discussed via WhatsApp a false

invoice to disguise the payments from NADER as a legitimate commercial transaction. NADER

wrote: “Hi Andy As per our conversation and agreement for consultation and services provided

by your company kindly send me the bill to my email address (Rudy has it) so we can take care of

it ASAP! Specify in bill method and full details of payment please. As already mentioned half of

10 to be paid upon receipt and second half by 15 August!” On or about June 15, DEKERMENJIAN

sent NADER an email attaching an invoice from Company A for €10 million for a supposed license

of Company A’s software by one of NADER’s companies. On or about June 15, KHAWAJA

confirmed, “Invoice was sent last night from Rudy.”

       27.     On or about June 16, KHAWAJA wrote in a WhatsApp message, “Rudy resent you

the updates address on the invoice. All good now. Please send the package ASAP. I’m on my way

back to la now. Everything is planned and confirmed. This is going to be very large and private

events. Will maximize it as much as possible.”

       28.     On or about June 22, KHAWAJA wrote, “Hi George, 4 days left for the Sunday

event and Still nothing arrived yesterday or today??” NADER responded, in part, “The issue has

been taken care of and is in order! Nothing more can be done about it! I have also discussed the

company issue and will send you a note on the matter[.]” On or about June 24, KHAWAJA

continued to complain that the “package” had not arrived.
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       29.    On or about June 24, NADER reported to an official from Foreign Country A’s

government via WhatsApp message that he was “traveling on Sat morning to catch up with our

Big Sister and her husband: I am seeing him on Sunday and her in Tuesday Sir! Would love to see

you tomorrow at your convenience . . . for your guidance, instruction and blessing!”

       30.    On or about June 26, KHAWAJA hosted a fundraiser at his home for Candidate 1,

which featured Individual 1. KHAWAJA, NADER, DEKERMENJIAN, and other guests invited

by KHAWAJA attended.

       31.    On or about June 27, NADER reported to an official from Foreign Country A’s

government via WhatsApp message, “Meeting with [Individual 1] was superb!” On or about June

29, NADER reported to an official from Foreign Country A’s government via WhatsApp message,

“Meeting with Big Lady went extremely well.”

       32.    KHAWAJA contributed almost $1 million in connection with the June 26 event,

including $400,800 to Political Committee 1 and $407,000 to Political Committee 2.

       33.    As part of the contributions in connection with the June 26 event, on or about June

28, KHAWAJA wrote a $157,000 check to Political Committee 2, falsely representing that it was

a contribution from his wife, when it was, in fact, made with the expectation that it would be

reimbursed in full by monies to be funneled to him by NADER. This caused Political Committee

2 to unwittingly file a false report with the FEC stating that the contribution was from

KHAWAJA’s wife, when it was not.

       34.    Also as part of the contributions in connection with the June 26 event, on or about

July 1, KHAWAJA wrote a $400,800 check to Political Committee 1, falsely representing that it

was a contribution from him and his wife, when it was, in fact, made with the expectation that it

would be reimbursed in full by monies to be funneled to him by NADER. This caused Political
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Committee 1 to unwittingly file a false report with the FEC stating that the contribution was from

KHAWAJA and his wife, when it was not.

     KHAWAJA Seeks Reimbursement and NADER Seeks Additional Private Events

        35.     In early July 2016, KHAWAJA and NADER continued to communicate via

WhatsApp about the status of the money from NADER. On or about July 1, KHAWAJA

complained that the “delivery” had not arrived; NADER responded, “I shall pursue it vigorously!”

On or about July 3 and 4, KHAWAJA again complained that there had been no “delivery.” On or

about July 6, NADER asked: “Do you have anybody here you can trust so I can either hand him

over or pass on the partial Baklava gift that is at least good and enough for the upcoming dinner

with our Sister? Since it will be easier and fresh and he can pass it on to you! . . . . otherwise I will

have to transfer it directly from me to your address you gave me! What you recommend? Friends

prefer that comes from me directly to you !” KHAWAJA responded, “Send me the gift to me by

mail. I have no one I can trust over there.”

        36.     On or about July 7, 11, and 12, KHAWAJA again complained via WhatsApp

messages that no “delivery” had arrived. NADER asked, “When exactly is the private event at the

house with only 3 people please?” KHAWAJA responded, “July 29,” and NADER stated: “Very

well: I will make sure you get a nice tray of Baklava before that date.”

        37.     Between July 13 and 15, NADER and DEKERMENJIAN engaged in further

communications about the false invoice between Company A and Company B. The final invoice

provided for half of the invoice to be paid within 48 hours and half by August 15, 2016. The

invoice falsely purports to be for a one-year license for Company A’s software to Company B. No

transfer of software ever occurred.
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       38.     On or about July 14, 2016, KHAWAJA caused Company A to write a $550,000

check to Political Committee 3 to purchase box seats to a political party’s national convention.

This check falsely represented that it was a contribution from Company A, when it was, in fact,

made with the expectation that it would be reimbursed in full by monies to be funneled to

KHAWAJA by NADER. This caused Political Committee 3 to unwittingly file a false report with

the FEC stating that the contribution was from Company A, when it was not.

       39.     According to a WhatsApp message between NADER and one of his associates,

NADER considered attending the political party’s national convention. NADER wrote, “I have a

dilemma: invited to attend the [] convention next week with Andy as a VIP guest where I meet all

the major principles! On 29/30 July invited to a very small dinner with the Lady: just 5 people

altogether![Foreign Country A Official] cautious and not terribly excited about the big event. He

thinks I am better of with the smaller private one but the convention you are too exposed!” NADER

did not attend the event.

       40.     On or about July 14, NADER stated in a WhatsApp message to KHAWAJA:

“Fresh hand made Baklava on the way designed especially for that private event at your house

later this month! First tray on the way! . . . You have got to lose some weight for the upcoming

tray of Baklava next week. Once you taste it and you like the choices more on the way soon.” On

or about July 18, KHAWAJA confirmed, “Small baklava arrived. 2.7 pieces arrive this morning.”

On or about July 18, Company A received a €2.5 million wire transfer from Company B.

       41.     On or about July 19, NADER sent an official from Foreign Country A’s

government via WhatsApp message photos of himself with Individual 1 in KHAWAJA’s home.

On or about July 27, NADER reported to an official from Foreign Country A’s government via
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WhatsApp message that he was “catching up with key figures in both camps and have been

developing a steady, consistent and constructive relationship with both camps!”

       42.     On or about July 31, KHAWAJA sent NADER a WhatsApp message stating,

“That’s why we need birthday gift, If [Candidate 2] gets elected its over for the Arabs.” NADER

responded, “Let us hope we put a good one in next couple of weeks and to follow up fast and

immediate with a new tray of Cookies!” KHAWAJA responded, “Agree….. I did a lot from me

already.”

       43.     KHAWAJA continued to pursue a private event with Candidate 1. On or about

August 2, KHAWAJA wrote in a WhatsApp message, “All set.. It’s going to be the 23rd at 11am

my house 3 people only you me and my wife and Juju :) will be up to 2 hours breakfast. . . . and

then at 1pm we go for lunch with her at [] the actor .. It’s at his house up the from my me. It will

be larger crowd :) so private breakfast then a lunch with others.” Approximately one hour later,

however, KHAWAJA wrote, “Was too hard to get it set up. Too small of birthday gift and the time

is worth 5 times more they say ..” NADER wrote on the same date: “As a show of appreciation,

respect and total confidence in You body, and for having set up the private event with Only you,

wife, Juju and me Only, I will press the bakery to prepare me another tray of Baklawa to arrive in

time for that event! I will do my best to get something in time! Don’t know how big since the

second tray was prepared immediately after the Birthday party but I trust my Friend that I can

arrange a bit more Baklawa, especially so that I know Juju loves it.” KHAWAJA responded,

“Please do and it will make us all look good if you know what I mean.”

       44.     On or about August 4, NADER sent KHAWAJA a WhatsApp message stating he

had discussed the matter further, “And as soon as we get back to [a foreign city] prepare something
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with bakery for the upcoming event . . . With pleasure and stressed important and unique role you

are playing.”

       45.      In further messages, KHAWAJA encouraged NADER to ensure the “baklawa”

arrived before the 22nd. On or about August 21, NADER wrote, “A package of Baklava was

prepared today as promised and sent DHL It should arrive in time for the event with your Sister,

Wife and Juju.” KHAWAJA responded, “Ok buddy please make sure u in la no later then 3pm. I

will pick u up at 4pm. We go to meet sister at event at 5pm :)”

       46.      On or about August 22, KHAWAJA, co-hosted an event in support of Candidate 1;

DEKERMENJIAN and NADER attended. On or about August 22, NADER reported to an official

from Foreign Country A’s government via WhatsApp message, “I am on my way to catch up with

Big Sister and Family in NY Sir.”

       47.      On or about August 23, KHAWAJA and NADER attended another event in support

of Candidate 1. On or about August 23, NADER reported to an official from Foreign Country A’s

government via WhatsApp message, “I just had dinner with my Big Sister and had a very very

productive discussion with her.”

       48.      On or about August 24, Company A received a €1,941,939.92 wire transfer from

Company B.

       49.      On or about August 27, NADER sent a WhatsApp message to KHAWAJA stating,

“I have conveyed . . . your commitment and promise to hold the upcoming two events in coming

weeks.” NADER went on to mention events in “LF” and “NY.”

                  KHAWAJA Arranges Another Private Event in Las Vegas

       50.      KHAWAJA arranged to host a private fundraiser for Candidate 1 in Las Vegas,

Nevada in September 2016. In order to host the event, KHAWAJA was required to contribute or
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raise $500,000 for Political Committee 1 and Political Committee 2. Due to his prior contributions

and the contribution limits, KHAWAJA could not contribute the full amount in his name or his

wife’s name. Instead, he was able to contribute $130,000 under his name and his wife’s name. To

evade contribution limits, KHAWAJA gave an additional $1 million to seven associates for them

to make contributions to Political Committee 2 in their names, thereby concealing from the

committee, the public, and the FEC the true source of the contributions. This caused Political

Committee 2 to unwittingly file a false report with the FEC stating that the contributions were

from KHAWAJA’s seven associates when they were not.

       51.     On or about September 8, NADER wrote in a WhatsApp message, “Don’t give up

any Baklava in my name till I come over and discuss it in person! You handle it for now in your

resilient and creative manner !” KHAWAJA confirmed, “Don’t worry Will not.”

       52.     On or about September 9, KHAWAJA wrote a $130,000 check to Political

Committee 2, falsely representing that it was a contribution from him and his wife, when it was,

in fact, made with monies funneled to him by NADER. This caused Political Committee 2 to

unwittingly file a false report with the FEC stating that the contribution was from KHAWAJA and

his wife, when it was not.

       53.     On or about September 12, KHAWAJA sent NADER a WhatsApp message stating

that he was on the telephone with the campaign and the Las Vegas meeting was postponed.

KHAWAJA recorded part of his telephone call with the campaign and sent it to NADER. NADER

forwarded the recording to an official from Foreign Country A’s government via WhatsApp.

       54.     On or about September 27, KHAWAJA wrote a check for $1 million to Political

Committee 4. The memorandum line of the check contained Candidate 1’s name. This check

falsely represented that it was a contribution from KHAWAJA, when it was, in fact, made with
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monies funneled to him by NADER. This caused Political Committee 4 to unwittingly file a false

report with the FEC stating that the contribution was from KHAWAJA, when it was not.

       55.     On or about October 12, KHAWAJA hosted an event for Candidate 1 in Las Vegas,

Nevada, which was rescheduled from its original September 14 date. Prior to the event,

representatives of Candidate 1 requested that NADER not attend, as he had not contributed

anything. KHAWAJA demanded that NADER be permitted to attend as his guest. KHAWAJA,

NADER, DEKERMENJIAN, and others invited by KHAWAJA attended this event.

       56.     Following the event, on or about October 13, NADER reported to an official from

Foreign Country A’s government via WhatsApp message, “Had a simply Terrific Magnificent

brainstorming and discussion with the Big Lady This evening!”

       57.     On or about November 2, KHAWAJA wired $100,000 to Political Committee 4,

falsely representing that it was a contribution from KHAWAJA, when it was, in fact, made with

monies funneled to him by NADER. This caused Political Committee 4 to unwittingly file a false

report with the FEC stating that the contribution was from KHAWAJA, when it was not.

       58.     Following the 2016 election, KHAWAJA caused Company A to contribute $1

million to the U.S. President-Elect’s inaugural committee. In connection with his contribution,

KHAWAJA obtained tickets to the 2017 U.S. Presidential inauguration in January 2017. He

attended the inauguration with NADER and DEKERMENJIAN as his guests.

                                             Conclusion

       59.     NADER and KHAWAJA made millions of dollars in campaign contributions to

access—and, at times, to host—political events in an effort to gain influence with high-level

political figures, including Candidate 1.
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       60.      NADER     and   KHAWAJA        concealed    their   scheme   by   surreptitiously

communicating about the funneling of monies from NADER to KHAWAJA, as well as their

attendance at and hosting of political events, through the use of an encrypted messaging system

and coded language.

       61.      NADER and KHAWAJA used a false licensing agreement and invoice to disguise

approximately $4.9 million in payments from NADER to KHAWAJA as a legitimate commercial

transaction.

       62.      As a result of the scheme, NADER and KHAWAJA caused more than $3.5 million

in contributions to Political Committee 1, Political Committee 2, Political Committee 3, and

Political Committee 4, all funded with monies funneled by NADER to KHAWAJA for

contribution.

       63.      As a result of the scheme, NADER and KHAWAJA caused Political Committee 1,

Political Committee 2, Political Committee 3, and Political Committee 4 to submit reports to the

FEC unwittingly stating falsely that the contributions were made by KHAWAJA and Company A.

                                                    COREY R. AMUNDSON
                                                    Chief, Public Integrity Section
                                                    Criminal Division
                                                    U.S. Department of Justice

                                            By:     /s/ Michael J. Romano
                                                    Michael J. Romano
                                                    James C. Mann
                                                    Trial Attorneys
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                                                    Criminal Division
                                                    U.S. Department of Justice
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